Case 2:17-cv-00240-Z-BR Document 204 Filed 12/11/20 Pagetof1 PagelD 2786
U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FILED

IN THE UNITED STATES DISTRICT COURT |
FOR THE NORTHERN DISTRICT OF TEXAS nec | | 2020 |
AMARILLO DIVISION | =er |

 

 

| CLERK, U.S. DISTRICT a

TAJOHNNA JOHNSON, et al., § “ae
Plaintiffs, a ae
v. : 2:17-CV-240-Z
WERNER ENTERPRISES INC., ef al.,
Defendants. :
ORDER

The Court acknowledges the parties’ Joint Stipulation of Dismissal WITH PREJUDICE
pursuant to Fed R. Civ. P. 41(a)(1)(A)(ii) filed on December 11, 2020. ECF Nos. 202. The
accompanying Agreed Motion (ECF No. 203) is GRANTED. Accordingly, this case has been
terminated. The Court hereby ORDERS the United States District Clerk to CLOSE this civil case.
Each party shall bear its own fees and costs.

SO ORDERED.

December vA , 2020. Ayre

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